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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 22-cv-21608-BLOOM

 ANDRIA KOUTURE BANKS,

         Plaintiff,

 v.

 DET. LAURENCE VILLA, et al.,

         Defendants.
                                         /

                       ORDER OF DISMISSAL WITHOUT PREJUDICE

         THIS CAUSE is before the Court upon a sua sponte review of the record. On May 25,

 2022, Plaintiff Andria Banks filed a Complaint for Violation of Civil Rights, 42 U.S.C. § 1983,

 ECF No. [1] (“Complaint”). As of the date of this Order, Plaintiff has not paid the $402 filing fee

 ($350 + $52 administrative fee) or filed a motion for leave to proceed in forma pauperis.

         Plaintiffs who cannot pay the filing fee may file a motion for leave to proceed in forma

 pauperis to proceed with their action without initial payment of the fee. See 28 U.S.C. § 1915.

 Section 1915 requires that plaintiffs file a motion for leave to proceed in forma pauperis

 accompanied by “an affidavit that includes a statement of all assets such prisoner possesses that

 the person is unable to pay such fees or give security therefor. Such affidavit shall state the nature

 of the action, defense or appeal and affiant’s belief that the person is entitled to redress.” Id. at

 (a)(1). It further requires that a plaintiff “submit a certified copy of the trust fund account statement

 (or institutional equivalent) for . . . the 6-month period immediately preceding the filing of the

 complaint . . . .” Id. at (a)(2). A Plaintiff who is granted in forma pauperis status is exempt from

 the $52 administrative fee but remains responsible for payment of the $350 filing fee.
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        Pursuant to Federal Rule of Civil Procedure 41(b), a district court may dismiss a complaint

 for failure to prosecute or failure to comply with a court order or the federal rules. See Brown v.

 Blackwater River Corr. Facility, 762 F. App’x 982, 985 (11th Cir. 2019) (“[A] district court may

 sua sponte dismiss a suit for failure to prosecute or failure to comply with an order.”). Because

 Plaintiff failed to pay the filing fee or file a motion to proceed in forma pauperis with a supporting

 financial affidavit and a certified trust account statement, the Complaint is dismissed for failure to

 prosecute.

        Accordingly, it is ORDERED AND ADJUDGED that this action is DISMISSED

 WITHOUT PREJUDICE. The Clerk is DIRECTED to CLOSE the case and all pending

 motions are DENIED as moot.

        DONE AND ORDERED in Chambers at Miami, Florida, on May 25, 2022.




                                                          _________________________________
                                                          BETH BLOOM
                                                          UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record

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